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                           UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF FLORIDA
                             FORT LAUDERDALE DIVISION

   CONSUMER FINANCIAL                         CASE NO: 9:23‐cv‐81373‐DMM
   PROTECTION BUREAU,

              Plaintiff,

        v.

   FREEDOM MORTGAGE
   CORPORATION,

              Defendant.




              DEFENDANT FREEDOM MORTGAGE CORPORATION’S
                REPLY IN SUPPORT OF ITS MOTION TO DISMISS
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             In an effort to maintain its claim against Defendant Freedom Mortgage

   Corporation for inaccuracies in its Home Mortgage Disclosure Act reporting, Plaintiff

   Consumer Financial Protection Bureau obfuscates the facts alleged in its Complaint,

   casting Freedom’s error rate as much more significant than the 0.23% that becomes

   apparent after simple calculations using the CFPB’s factual assertions. Perhaps this is

   an attempt to distract the Court from the vagueness and utter lack of clarity around the

   pivotal concepts in HMDA and Regulation C on which the CFPB’s case is based.

   Furthermore, the CFPB cannot overcome the prohibition against obey‐the‐law

   injunctions to enforce its own injunction against Freedom. The Court should

   accordingly grant Freedom’s Motion to Dismiss.

                                                 I.
       THE CFPB PORTRAYS THE HMDA DATA ERROR RATE AS MUCH HIGHER THAN ALLEGED
             By its own allegation, the CFPB has sued Freedom for unintentional inaccuracies

   in 0.23% of Freedom’s 2020 HMDA data. In its Opposition to Freedom’s Motion to

   Dismiss (“Pl. Opp.”), the CFPB duplicitously portrays Freedom’s error rate as

   significantly higher. At 4 (Doc. 31) (“‘[Defendant’s] February 26, 2021 submission of its

   HMDA data to the Bureau was filled with errors’ covering over 174,000 data entries and

   almost twenty percent of loans.” Quoting Compl. ¶¶ 4 & 21 (Doc. 1) (alterations

   original)). But when simple arithmetic is applied to the CFPB’s allegations, the

   proportion of inaccuracies is approximately 0.23%:1

            Freedom reported HMDA data for over 700,000 loans. Compl. ¶ 18.

            For each of those loans, Freedom was required to report 110 different data

             points.2 See FEDERAL FINANCIAL INSTITUTIONS EXAMINATION COUNCIL, A GUIDE




   1The CFPB used approximate numbers in its allegations in its Complaint.
   2The CFPB misleadingly refers to 38 categories of data that must be reported, Pl.
   Opp. 4; but the FFIEC’s Guide to HMDA Reporting (which is cited in the same bullet‐
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          TO HMDA REPORTING: GETTING IT RIGHT! Appx. G (Jan. 9, 2020) (listing 110

          categories of data required to be included in the lender’s Loan/Application

          Register for each transaction).3

         The total number of data points submitted is the total number of loans multiplied

          by the total number of data points required per loan:

                 700,000 x 110 = 77,000,000 total data points submitted.

         Freedom’s resubmission corrected 174,000 of those individual data points.

          Compl. ¶ 21.

   The error rate is the number of alleged data‐point errors divided by the total number of

   data points submitted: 174,000/77,000,000 = 0.23% error rate. Conversely, the accuracy

   rate for Freedom’s HMDA data is 100% minus the error rate: 100% ‐ 0.23% = 99.77%

   accuracy rate.

                                      II.
      THE MEANING OF “ACCURACY” CANNOT BE DETERMINED BY THE TEXT OF THE LAW
          The requirement for accuracy in HMDA data is unconstitutionally vague because

   neither HMDA nor Regulation C establish any meaning for the fundamental term

   “accuracy.” In an effort to argue that “accuracy” requires absolute perfection, the CFPB

   points only to a provision of law which specifies the types of inaccuracies that do not

   constitute a violation of HMDA. Indeed, while the CFPB’s commentary accompanying

   Regulation C does not shed light on what accuracy is required in HMDA data, it also

   acknowledges that absolute perfection is not required. Because the CFPB cannot show

   any clear standard for “accuracy” as established by law, HMDA’s accuracy requirement




   point containing this footnote) makes very clear that 110 data points are required to be
   reported for each loan.
   3 Available at https://www.ffiec.gov/hmda/pdf/2020Guide.pdf (last visited

   Dec. 18, 2023).
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   is unconstitutionally vague, invalid and unenforceable as applied to Freedom. The

   Court should accordingly dismiss this lawsuit.

   A.     “Accuracy” is not defined and is therefore unconstitutionally vague.
          Neither HMDA nor Regulation C provides constitutionally fair notice as to what

   accuracy is required in HMDA data. The only provision of those laws that imposes any

   accuracy requirement—i.e., the only provision that even uses the term “accuracy”—is in

   12 C.F.R. § 1003.5: “An authorized representative of the financial institution with

   knowledge of the data submitted shall certify to the accuracy and completeness of data

   submitted.” See also Pl. Opp. 4 (quoting same without citing any other provision

   requiring accuracy, as there is none).

          But this leaves open the question as to what this use of “accuracy” means. After

   all, “[a]ccuracy is quite clearly not a self‐defining concept.” Cahlin v. Gen. Motors

   Acceptance Corp., 936 F.2d 1151, 1157 (11th Cir. 1991), superseded on other grounds as

   recognized in Brown v. Equifax Info. Servs., No. 1:09‐CV‐0168,

   2010 U.S. Dist. LEXIS 162659, at *27 fn.8 (N.D. Ga. Feb. 16, 2010). Because neither

   HMDA nor Regulation C answers that question, the accuracy requirement is

   unconstitutionally vague and cannot be enforced.

          In response to this challenge, the CFPB pretends the accuracy requirement of

   12 C.F.R. § 1003.5 is just like a speed limit. Pl. Opp. 11. The CFPB likens itself to the

   traffic patrol officer who may use his discretion to cite a driver for driving over the

   speed limit, whether the driver is clocked at only one mile over or 20 miles over the

   limit. See id.

          But this argument for prosecutorial discretion, see also id. 6, is a straw man set up

   by the CFPB so that it does not have to deal with HMDA’s vagueness. Although traffic

   enforcement is a creative way to view the CFPB’s enforcement action, it is altogether




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   inapposite: “35 MPH” is an objective proscription, obvious in its meaning; “accuracy,”

   on the other hand, “is quite clearly not a self‐defining concept,” Cahlin, 936 F.2d at 1157.

          The CFPB’s analogy would only fit HMDA’s accuracy requirement if the speed

   limit were posted as “MODERATE.” Obviously, “MODERATE” is a subjective term

   that is not self‐defining, and it would not work as a constitutionally enforceable speed

   limit. Although both the traffic patrol officer and the CFPB each have prosecutorial

   discretion to enforce their mandates, they cannot enforce vague requirements of law—

   whether “MODERATE” speeds or “accuracy” in HMDA data. Thus, the CFPB’s

   analogy, when critically considered, shows only how deficient HMDA’s accuracy

   requirement is.

   B.     The CFPB’s arguments do not show what accuracy is required by the law.
          Nevertheless, in an effort to maintain its claims against Freedom for inaccuracies

   amounting to 0.23% of its reported data, the CFPB must argue for an unforgiving

   interpretation of the law that is unsupported in the text of HMDA or Regulation C:

   “Every error is a violation of HMDA and Regulation C unless (1) the error was

   unintentional and (2) the entity committing the error maintained the procedures

   reasonably adapted to avoid such an error.” Pl. Opp. 5 (citing 12 C.F.R. § 1003.6(b)).

          But the provision of Regulation C referenced in support of this proposition—

   12 C.F.R. § 1003.6(b)—states only what does not constitute a violation of law:

          An error in compiling or recording data for a covered loan or application is
          not a violation of the Act or this part if the error was unintentional and
          occurred despite the maintenance of procedures reasonably adapted to
          avoid such an error.

   12 C.F.R. § 1003.6(b)(1) (emphasis added). Wholly absent from this provision is any

   indication of what will constitute a violation. See id. And yet, this is the provision upon

   which the CFPB tells this Court its case hinges. See Pl. Opp. 5.



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          Interestingly, this new argument also represents a sly shift from the CFPB’s

   pleaded case. Nowhere in the Complaint does the CFPB allege that inaccuracies in

   Freedom’s HMDA data violate this provision of law. See Compl., generally

   (Paragraph 34 is the only instance mentioning this provision; and it does not allege any

   standard for accuracy, claiming only that Freedom’s HMDA‐reporting errors do not fall

   within its ambit). Instead, the CFPB’s pleaded claims depend on other provisions of

   law: “Freedom’s 2020 HMDA data contained errors in violation of HMDA,

   12 U.S.C. § 2803, and Regulation C, 12 C.F.R. §§ 1003.4, 1003.5.” Compl. ¶ 35. Rather

   than attempt to defend these provisions of law, the CFPB has attempted to reframe its

   legal claim against Freedom.

          The CFPB had to innovate a new position and argue that the provision of law

   establishing what is not a violation of HMDA (12 C.F.R. § 1003.6(b)(1)) is actually the

   provision of law that establishes what is a violation of HMDA because none of the

   provisions the CFPB sued upon—i.e., those provisions that require collection and

   reporting of HMDA data—provide any support for the CFPB’s position that the law

   requires perfectly accurate data. See 12 U.S.C. § 2803; 12 C.F.R. §§ 1003.4 & 1003.5. In

   fact, those collection‐and‐reporting provisions do not establish a requirement of any

   particular level of accuracy at all (and, as discussed above, only 12 C.F.R. § 1003.5 even

   mentions “accuracy”). See id. Consequently, they are unconstitutionally vague as to

   this requirement and must be invalidated. See FCC v. Fox TV Stations, Inc.,

   567 U.S. 239, 253 (2012) (Due process “requires the invalidation of laws that are

   impermissibly vague.”). Because neither the CFPB nor this Court can enforce an invalid

   law, each of the CFPB’s claims—all three of which are premised on a requirement that

   HMDA data be reported with some unannounced level of accuracy—should be

   dismissed.




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   C.    The CFPB’s commentary shows “accuracy” does not require perfection.
         Particularly in the case of HMDA data, interpreting “accuracy” to mean absolute

   perfection (as the CFPB argues, Pl. Opp. 5) would be unfair and inconsistent with the

   CFPB’s own official commentary, which recognizes just how impossible that is. Outside

   the context of this lawsuit, the CFPB is willing to acknowledge the unavoidability of

   inaccuracies in HMDA data:

         Many of the commenters stated that despite the implementation of
         appropriate systems and controls and efforts to comply with the spirit of
         Regulation C, innocent errors and human judgment errors in interpretation
         and data input are impossible to eliminate completely.
                                            *****
         After considering the comments, the Bureau has concluded that there are
         more effective ways to address the issues raised by the commenters than by
         making substantive changes to § 1003.6(b). In reaching this conclusion, the
         Bureau accepts that some errors in data compilation and reporting are
         difficult to avoid altogether.
   Home Mortgage Disclosure (Regulation C), 80 Fed. Reg. 66,254‐55 (Oct. 28, 2015)

   (emphasis added).

         Attempting to re‐cast this commentary, the CFPB points out that it also stated

   “accurate data is essential” in those official comments. Pl. Opp. 4 (citing Home

   Mortgage Disclosure (Regulation C), 80 Fed. Reg. 66,255). But there, too, it is unclear

   what “accurate” means—this comment does not even purport to establish what is

   required when the law refers to “accuracy.” Stating that “accurate data is essential”

   certainly does not make clear that the only acceptable level of accuracy is absolute

   perfection, particularly in light of the entirety of the CFPB’s commentary. It would be

   unfair to hold Freedom to an unannounced, vague standard—and, more importantly to

   the determination of this case, it would be unconstitutional. The Court should dismiss

   the case accordingly.



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                                        III.
         THE CFPB’S ALTERNATIVE PROVISION IS ALSO UNCONSTITUTIONALLY VAGUE
          Just as Regulation C’s use of “accuracy” is unconstitutionally vague and

   therefore unenforceable, the requirement the CFPB now points to for “the maintenance

   of procedures reasonably adapted to avoid such an error,” 12 C.F.R. § 1003.6(b)(1)4, is

   also unconstitutionally vague and unenforceable as applied to Freedom. Each of these

   requirements is “so indefinite as really to be no rule or standard at all.” See Burns v.

   Town of Palm Beach, 999 F.3d 1317, 1349 (11th Cir. 2021). Quoting this passage from

   Burns, the CFPB argues that HMDA and Regulation C “easily pass that test”—but the

   CFPB can make this assertion only because it does not subject these provisions to any

   test at all. Pl. Opp. 8.

          In Burns, a homeowner challenged a Palm Beach building ordinance as

   unconstitutionally vague after he was denied a building permit. 999 F.3d at 1328. The

   Eleventh Circuit held that the ordinance was not unconstitutionally vague, noting that it

   contained “detailed criteria.” Id. 1350‐51. In fact, the ordinance contained ten specific

   criteria for approval of a building permit. Id. 1324‐25. And for those criteria that might

   otherwise be subject to attack as overly vague, e.g., “not excessively similar to any other

   structure . . . within 200 feet,” the ordinance provided additional sub‐criteria so that

   property owners could determine how to meet the ordinance’s requirements, e.g.,

   “visibly identical front or side elevations” and “identical size and arrangement of either

   doors, windows, porticos.” Id. In contrast, neither HMDA nor Regulation C provides

   any criteria to determine what is meant by the term “accuracy” in 12 C.F.R. § 1003.5 or




   4The other criterion in this section is that the error is unintentional. Because the CFPB
   does not allege any of the inaccuracies in Freedom’s HMDA data to be intentional, see
   Compl., generally, only the “maintenance of procedures reasonably adapted to avoid
   such an error” criterion is pertinent to this case.
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   the broad phrase “procedures reasonably adapted to avoid such an error” in

   § 1003.6(b)(1).

          Section 1003.6(b)(1) does provide that unintentional errors are expressly

   permitted (apparently without any limit) so long as the filer maintains such “reasonably

   adapted” procedures. As discussed in section II.B above, the CFPB improperly

   attempts to flip this provision providing an exception to liability into a provision

   establishing liability. But whether the Court credits that argument or not (and it should

   not), any determination of whether Freedom violated HMDA with inaccurate data also

   hinges on whether it maintained such vague and undefined “reasonably adapted”

   procedures. See 12 C.F.R. § 1003.6(b)(1). This phrase is subjective, not self‐defining, and

   the law lacks any further criteria by which Freedom or other lenders may determine

   “what is required of them so they may act accordingly.” See FCC, 567 U.S. at 253.

          For this reason, each of these requirements are “so indefinite as really to be no

   rule or standard at all,” see Burns, 999 F.3d at 1349. Because each of these concepts

   separately determine Freedom’s liability—Freedom is only liable for failing some

   unknown standard of “accuracy,” and even then only if it also fails to maintain

   “procedures reasonably adapted to avoid such an error”—a determination that either is

   unconstitutionally vague requires dismissal of the CFPB’s case.

                                               IV.
   THE CFPB CANNOT OVERCOME THE PROHIBITION AGAINST OBEY‐THE‐LAW INJUNCTIONS
          In spite of controlling authority that an obey‐the‐law injunction is

   unenforceable,5 the CFPB argues that it should be able to enforce its own obey‐the‐law



   5SEC v. Graham, 823 F.3d 1357, 1362 fn.2 (11th Cir. 2016); SEC v. Goble, 682 F.3d 934, 950
   & 952 (11th Cir. 2012). The CFPB points out that the dicta in footnote 14 of SEC v.
   Smyth, 420 F.3d 1225 (11th Cir. 2005), was not controlling when it was published. Pl.
   Opp. 15. Nonetheless, it is consistent with the controlling authority subsequently
   published (listed at the beginning of this footnote) and is thus instructive.
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   injunction anyway. Pl. Opp. § III.A. In advancing this argument, the CFPB primarily

   depends on cases that are inapplicable here. E.g., United States v. Askins & Miller

   Orthopaedics, P.A., 924 F.3d 1348, 1362 (11th Cir. 2019) (defendants understood specific

   conduct required by injunction—i.e., the requirement to remit payroll taxes; but here,

   an understanding of the relevant provisions of HMDA and Regulation C is not possible

   because they are vague and ill defined); FTC v. Nat’l Urological Grp., Inc., 786 Fed. App’x

   947, 951 (11th Cir. 2019) (injunction contained requirements beyond mere reference to

   law); SEC v. Keener, 644 F. Supp. 3d 1290, 1302 (S.D. Fla. 2022) (injunction specifically

   described prohibited conduct). The CFPB’s cited authorities are therefore inapposite

   and do not support applying an exception to the clear rule against obey‐the‐law

   injunctions in this case.

          To its credit, the CFPB at least admits that “injunctions must provide specific

   notice to an enjoined party of what conduct is prohibited.” Pl. Opp. 12 (citing SEC v.

   Goble, 682 F.3d 934, 951 (11th Cir. 2012)). But then it makes the absurd argument that

   “what is required by HMDA and Regulation C is straightforward.” Id. As shown in

   §§ II and III above, it is not even clear what “accuracy” or “procedures reasonably

   adapted to avoid such an error” mean as used in the CFPB’s regulations, and those

   terms are apparently pivotal for the CFPB’s case against Freedom. Furthermore,

   enjoining Freedom to comply with not a single clear provision but an entire statutory

   and regulatory scheme—i.e., “merely cross‐referenc[ing] the relevant statutes and

   regulations”—impermissibly requires Freedom to look beyond “‘the four corners of the

   injunction to determine what [it] must do or refrain from doing.’” See Goble, 682 F.3d at

   952 (quoting Hughey v. JMS Dev. Corp., 78 F.3d 1523, 1532 fn.12 (11th Cir. 1996)). For

   these reasons, the CFPB cannot enforce its obey‐the‐law injunction against Freedom.




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                                          V.
               THE CFPB HAS FAILED TO REBUT FREEDOM’S MOTION TO DISMISS
          The accuracy requirement in HMDA and Regulation C is unconstitutionally

   vague—there is no way for Freedom to determine from those laws what is required of

   it. Likely for this reason, the CFPB’s Complaint does not plead any certain requirement

   for accuracy in the HMDA data reported by mortgage lenders like Freedom, and it does

   not explicitly state what level of accuracy Freedom’s HMDA data contained (although it

   is possible to calculate a 99.77% accuracy rate from the allegations made). The CFPB

   thus fails to state a claim against Freedom upon which relief can be granted.

          Furthermore, the law prohibits enforcement of an obey‐the‐law injunction, so the

   CFPB also fails to state a claim upon which relief can be granted for its attempt to

   enforce its obey‐the‐law injunction against Freedom. For these reasons, and all those

   stated in Freedom’s Motion to Dismiss, this Court should dismiss the CFPB’s claims in

   their entirety.




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   Dated: January 29, 2024            Respectfully submitted,

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                                  CERTIFICATE OF SERVICE
          I hereby certify that on January 29, 2024, I electronically filed the foregoing document
   with the Clerk of Court using CM/ECF, which will provide automatic notice to the below listed
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